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     Attorney for Ippei Mizuhara
 6
 7                       UNITED STATES DISTRICT COURT
 8                      CENTRAL DISTRICT OF CALIFORNIA
 9
       UNITED STATES OF AMERICA,              Case No. 8:24-CR-54-JWH
10
                        Plaintiff,            NOTICE OF RELATED CASES
11
12                 v.

13     IPPEI MIZUHARA,

14                      Defendant.

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                               NOTICE OF RELATED CASES
Case 8:24-cr-00054-DMG Document 20 Filed 05/08/24 Page 2 of 2 Page ID #:127




 1         Defendant Ippei Mizuhara, by and through his counsel of record, Michael
 2   G. Freedman, hereby notifies the Court that the above-entitled criminal case may
 3   be related to the following cases that were previously assigned to the Honorable
 4   Dolly M. Gee:
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 6         United States v. Kenneth Arsenian, 21-CR-571-DMG
 7         United States v. Joseph Castelao, 22-CR-32-DMG
 8         United States v. Howard Miller, 22-CR-79-DMG
 9         United States v. Wayne Nix, 22-CR-80-DMG
10         United States v. Yasiel Puig Valdes, 22-CR-394-DMG
11         United States v. Scott Sibella, 23-CR-656-DMG
12
13         The above-entitled cases may be related because they arise out of the same
14   investigation of “illegal sports bookmaking organizations operating in Southern
15   California” as detailed in the complaint filed in this matter on April 11, 2024.
16   (Dkt. 1 at ¶¶ 11-12).
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     Dated: May 8, 2024             Respectfully submitted,
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19
                                      /s/ Michael G. Freedman
20                                    MICHAEL G. FREEDMAN
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                                      Attorney for Ippei Mizuhara
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                                NOTICE OF RELATED CASES
